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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                                     :     CRIMINAL NO.
                                                              :
                 v.                                           :     MAGISTRATE NO. 21-CR-609
                                                              :
 JEREMY BROWN,                                                :     VIOLATIONS:
                                                              :
                             Defendant.                       :     18 U.S.C. § 1752(a)(1)
                                                              :     (Entering and Remaining in a Restricted
                                                              :     Building or Grounds)
                                                              :     18 U.S.C. § 1752(a)(2)
                                                              :     (Disorderly and Disruptive Conduct in a
                                                              :     Restricted Building or Grounds)
                                                              :


                                      Notice to Court on Additional Case

         The United States respectfully files this notice of additional information requested by the

court at the last status hearing. The defendant is currently held in 8:21-cr-00348-SCB-SPF in the

Middle District of Florida on weapons and explosives charges stemming from the execution of a

search warrant on the defendant’s recreational vehicle and residence. That case is pending trial in

front of Judge Susan Bucklew, has a status date of March 16, and is set for trial on the April

calendar. 1 The parties and the court in the Middle District of Florida are aware of new charges

that may be added relating to additional materials seized in the search warrant on the defendant’s

recreational vehicle. Those new charges could affect the trial date. The government expects that

the status of the April trial date will be determined at the March hearing.

                                                         Respectfully submitted,

                                                         MATTHEW GRAVES
                                                         U.S. ATTORNEY

                                               By:       /s/ Louis Manzo
                                                         LOUIS MANZO

1 Cases set for trial in the Middle District of Florida do not receive a date certain until closer to the month of trial.
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                           Special Assistant United States Attorney
                           Massachusetts Bar No. 688337
                           United States Attorney’s Office
                           District of Columbia
                           Telephone No. (202) 262-6570
                           Louis.Manzo@usdoj.gov




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